     Case 3:22-cv-00091-ART-CLB Document 41 Filed 05/31/24 Page 1 of 1



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 3                         UNITED STATES DISTRICT COURT
 4                                DISTRICT OF NEVADA
 5   JASON T. MATHIS,                               Case No. 3:22-cv-00091-ART-CLB
 6                                Petitioner,                  ORDER
            v.
 7
     WARDEN, N.N.C.C., et al.,
 8
                               Respondents.
 9

10         On February 15, 2024, this Court granted Petitioner Jason T. Mathis’s
11   motion for discovery. (ECF No. 38.) This Court ordered Mathis to file a status
12   report on the earlier of completion of discovery or within 90 days. (Id.) On May
13   15, 2024, Mathis timely filed a status report, explaining that discovery is still
14   ongoing. (ECF No. 39.) This Court instructs Mathis to file another status report
15   in 90 days to keep this Court informed of the discovery process.
16         It is therefore ordered that Mathis again file a status report on the earlier
17   of completion of discovery or within 90 days of the date of this Order.
18

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20         DATED THIS 31st day of May 2024.
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22
                                          ANNE R. TRAUM
23                                        UNITED STATES DISTRICT JUDGE
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